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Exhibit M
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_McBay, Al-Khidhr & Seal v. Harrison County, Mississippi, by and through its Board of Supervisors, et al
Videotaped deposition of: Morgan Lee Thompson August 14, 2009

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IN THE UNITED STATES DISTRICT COURT

FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

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Southern Division

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GARY BRICEH McBAY, * 1:07CV1205-LG-RHW
WILLIAM DAVID SEAL, * 1:08CV175-LG-RHW
ONLY AL-KHIDHR, * 1:07CV1223-LG-RHW

Plaintiffs, *
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HARRISON COUNTY, MISSISSIPPI *

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SUPERVISORS, et al.,
Defendants. *
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VIDEO-RECORDED DEPOSITION OF
MORGAN THOMPSON
August 14, 2009

9:39 a.m. ~- 11:06 a.m.

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REPORTED BY: Kurt D. Hruneni, CCR-VA

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Videotaped deposition off Morgan Lee Thompson August 14, 2009

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1 blurred. And I think you agreed with me on that.
2 A Yes. Yes, I did.
3 Q And after doing something so wrong, that
4 something being use of excessive force, you didn't see |
5 it as wrong anymore, did you?
6 A Some instances of excessive force, you do
7 see as wrong. Things like using a closed fist to
8 defend yourself in a fist fight, you don't see that as |
9 wrong anymore. f
10 Qo Isn't it true that you felt like you lost
11 . touch with the humanity of the people that were coming :
12 in there?
13 A Yes, sir.
14 Q And that you treated a lot of people as :
15 numbers and tried to process them as effectively as
16 possible, but forgot that you were dealing with human
17 beings, and that was a fault of yours?
18 A Yes, sir.
19 Q What is the professional standards arm of
20 the jail? |
21 A It's pretty much an internal affairs.
22 Q And who was in charge of professional
23 standards?
24 A I believe it was Steve Campbell, at the
25 time.
SS FSS SSS SS
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